Case 1:09-cr-20022-TLL-CEB ECF No. 67, PageID.249 Filed 08/30/19 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

         Plaintiff,                                  Case No. 09-cr-20022
                                                     Honorable Thomas L. Ludington

v.

DELANI MOSI DEGRATE,

      Defendant.
____________________________/

         ORDER GRANTING IN PART DEFENDANT’S MOTION FOR SENTENCE
                               REDUCTION

         On October 28, 2009, an indictment was returned against Defendant Delani Mosi Degrate

charging him with two-counts of drug trafficking and two firearms offenses. Count one of the

third superseding indictment is the only count relevant to Defendant’s motion. Count one alleged

that Defendant possessed with intent to distribute more than 50 grams of cocaine base in the

form of crack cocaine. (ECF No. 45).

         The parties entered into a Rule 11 Plea Agreement which provided that Defendant would

plead guilty to count one of the third superseding indictment. The parties stipulated that the count

of conviction involved 134 grams of crack cocaine. The government agreed to amend the notice

of penalty enhancement pursuant to 21 U.S.C. § 851 to reflect only one prior felony drug

conviction which decreased Defendant’s statutory sentence to 20 years to life, pursuant to 21

U.S.C. § 841(b)(1)(A). (ECF No. 50). The statutory minimum term of supervised release was 10

years.

         Because Defendant had at least two prior qualifying convictions for controlled substance

offenses, he was classified as a career offender under U.S.S.G. § 4B1.1, and his offense level
Case 1:09-cr-20022-TLL-CEB ECF No. 67, PageID.250 Filed 08/30/19 Page 2 of 5




was 37. With a three-level reduction for acceptance of responsibility, Defendant’s total offense

level was 34 with a criminal history category VI, resulting in a guideline range of 262 to 327

months. (PSR ¶ s37-39, 54, 84). At the sentencing hearing on March 18, 2010, the Court adopted

the guideline range in the presentence report and imposed a custodial sentence of 235 months to

be followed by 10 years of supervised release. (ECF No. 53).

        On April 23, 2019, Defendant filed a motion for a sentence reduction pursuant to the

First Step Act of 2018. ECF No. 59. The government filed a response on May 25, 2019, and

Defendant filed a reply on May 28, 2019. ECF Nos. 65-66.

                                                I.

       Pursuant to Section 404(b) of the First Step Act, “a court that imposed a sentence for a

covered offense may . . . impose a reduced sentence as if sections 2 and 3 of the Fair Sentencing

Act of 2010 were in effect at the time the covered offense was committed.” P.L. 115-391,

Section 404(b). In order to be eligible, the petitioner must have been sentenced prior to August 3,

2010 (the date of the enactment of the Fair Sentencing Act) for a “covered offense” as defined in

the First Step Act.

       As this Court explained in Brown (Case No. 07-cr-20195), the Act does not require a

plenary resentencing proceeding. See P.L. 115-391, Sec. 404(c). (“Nothing in this section shall

be construed to require a court to reduce any sentence pursuant to this section.”). Rather, courts

have discretion to modify a sentence for eligible Defendants in response to a motion or on the

court’s own initiative. See P.L. 115-391, Section 404(b). Although the Act does not require a

plenary resentencing proceeding, courts nevertheless consider the Section 3553(a) factors to

determine whether a sentence modification is warranted. See e.g. United States v. Boulding, 2019

WL 2135494, at *6 (W.D. Mich. May 16, 2019); United States v. Delaney, 2019 WL 861418, at

                                               -2-
    Case 1:09-cr-20022-TLL-CEB ECF No. 67, PageID.251 Filed 08/30/19 Page 3 of 5




*1 (W.D. Va. Feb. 22, 2019). Consideration of these factors is also consistent with United States

Sentencing Commission’s guidance.1

                                                II.

         Defendant has a long criminal history which began at age 17. Defendant is now 46 years

old with three children ages 28, 22, and 11. He has a long substance abuse history dating back to

age 15. He has indicated a need for substance abuse treatment. He has no long-term employment

history and no debt or income. His highest level of education is high school.

         Defendant was sentenced on March 18, 2010 for possession with intent to distribute 50

grams of cocaine base. Therefore, he is eligible for a reduction under the First Step Act. Because

of his status as a career offender under U.S.S.G. § 4B1.1, Defendant’s offense level and

corresponding guideline range remains unchanged after the First Step Act. His offense level of

34 (base offense level of 37 with a 3-level reduction for acceptance of responsibility) results in a

guideline range of 262 to 327 months. Pursuant to Section 841(b)(1)(B) of the Fair Sentencing

Act (now retroactively applicable via the First Step Act of 2018), the statutory minimum penalty

for career offenders such as Defendant who are convicted of possession of less than 280 but

more than 28 grams of cocaine base has been reduced from 20 years to 10 years.

         The parties stipulate that Defendant’s guideline range of 262 to 327 months has not

changed, although his statutory mandatory minimum has been reduced from 20 years to 10 years,

and his statutory minimum term of supervised release has been reduced from 10 years to 8 years

pursuant to 841(b)(1)(B). The parties disagree as to whether, in light of these facts, he is

“eligible” for a reduction, and whether a reduction is warranted.

1
 See First Step Act, United States Sentencing Commission, Office of Education and Sentencing
Practice, 8 (Feb. 2019), https://www.ussc.gov/sites/default/files/pdf/training/newsletters/2019-
special_FIRST-STEP- Act.pdf.

                                               -3-
    Case 1:09-cr-20022-TLL-CEB ECF No. 67, PageID.252 Filed 08/30/19 Page 4 of 5




           The Court has discretion to reduce Defendant’s sentence in this case. Pursuant to the first

step act “a court that imposed a sentence for a covered offense may . . . impose a reduced

sentence as if sections 2 and 3 of the Fair Sentencing Act of 2010 were in effect at the time the

covered offense was committed.” Had the Fair Sentencing Act been in effect at the time the

offense was committed, the mandatory minimum sentence would have been 10 years, not 20.

Pursuant to Section 3553(a)(3), a Court must consider not only the guideline range but also the

statutory minimum and maximum penalties in reaching a sentencing decision. See United States

v. McCloud, 730 F.3d 600, 610 (6th Cir. 2013) (explaining that consideration of “the kinds of

sentences available” under 3553(a)(3) “necessarily includes the statutory minimum and

maximum ranges.”). The Court was required to consider the statutory minimum when imposing

the initial sentence. That minimum has now changed. Accordingly, Defendant is a candidate for

a discretionary reduction even though his guideline range has not changed.2

           In addition to the amended statutory minimum, Defendant’s post-sentencing conduct is a

relevant consideration when reevaluating his sentence. See Pepper v. U.S. 562 U.S. 476 (2011)

(holding that post-conviction behavior could be considered in the context of the Section 3553(a)

factors during a resentencing following an appeal). Here, Defendant has produced evidence that

he has been productive during his ten years of incarceration. He worked for 3.5 years as a

Computer Data Processor at FCI Elkton and obtained a journeyperson apprenticeship in

Computer Peripheral-EQ-OP. ECF No. 63. He maintained a clear record until December 2018

when he was disciplined for possession of a “hazardous tool” which, according to his counsel,

was a cell phone.

            In light of the foregoing, the Court concludes that a reduction is warranted. Defendant’s


2
    Whether a discretionary reduction is appropriate is a distinct question.
                                                            -4-
Case 1:09-cr-20022-TLL-CEB ECF No. 67, PageID.253 Filed 08/30/19 Page 5 of 5




term of imprisonment will be reduced from 235 months to 199 months, and his term of

supervised release will be reduced from 10 years to 8 years.

       Accordingly, it is ORDERED that Defendant’s motion for a reduced sentence, ECF No.

59, is GRANTED in PART.

       It is further ORDERED that Defendant’s sentence is reduced from 235 months to 199

months.

       It is further ORDERED that Defendant’s term of supervised release is reduced from 10

years to 8 years.

       The Court will enter a form order entitled “Order Regarding Motion for Sentence

Reduction Under the First Step Act of 2018” consistent with this order.



       Dated: August 30, 2019                                                s/Thomas L. Ludington
                                                                             THOMAS L. LUDINGTON
                                                                             United States District Judge




                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney of record herein by electronic means and to Delani
                        Mosi Degrate #42391-039, YANKTON FEDERAL PRISON CAMP,
                        Inmate Mail/Parcels, P.O. BOX 700, YANKTON, SD 57078 by first
                        class U.S. mail on August 30, 2019.

                                                         s/Kelly Winslow
                                                         KELLY WINSLOW, Case Manager




                                                         -5-
